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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
                               CENTRAL DIVISION



       NELSON MBONY,                              Chapter 7
       IMMACULATE MBONY,                          Case No.: 23-40795-CJP


                      Debtors


         TRUSTEE'S LIMITED OBJECTION TO MOTION OF
GERALDA JEAN AND JEAN RONALD BAILLARD FOR RELIEF FROM STAY

       NOW COMES Steven Weiss, Trustee, through his counsel and submits this limited

objection to the Motion of Geralda Jean and Jean Ronald Baillard for Relief from the

Automatic Stay [Dkt. No. 24, “Motion”]. In support thereof, the Trustee respectfully states

as follows:

       1.      The Trustee admits the allegations in ¶ 1 of the Motion.

       2.      The Trustee admits the allegations in ¶ 2 of the Motion.

       3.      The Trustee admits the allegations in ¶ 3 of the Motion.

       4.      The Trustee admits the allegations in ¶ 4 of the Motion.

       5.      The Trustee admits the allegations in ¶ 5 of the Motion.

       6.      The Trustee admits the allegations in ¶ 6 of the Motion.

       7.      The Trustee admits the allegations in ¶ 7 of the Motion.

       8.      The Trustee admits that the Creditors are seeking relief for cause, but neither

admits nor denies whether they are entitled such relief.
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       9.      The allegations in ¶ 9 of the Motion constitute a legal argument to which no

response is required.

       10.     The Trustee admits the allegations in ¶ 10 of the Motion.

       11.     The Trustee admits the allegations in ¶ 11 of the Motion.

       12.     The Trustee admits that the amounts stated to be owed in ¶ 12 are approximately

correct, but reserves the right to seek a complete accounting of the amounts owed.

       13.     The Trustee admits that is the value stated in the Debtors’ schedules; however,

he neither admits nor denies that is the actual value. In further answer, at a recent meeting of

creditors the Debtors testified that they believed the current value of the Property to be

approximately $800,000.00.

       14.     The allegations in ¶ 14 of the Motion constitute a legal argument to which no

response is required.

       15.     The allegations in ¶ 15 of the Motion constitute a legal argument to which no

response is required.

       16.     The allegations in ¶ 16 of the Motion constitute a legal argument to which no

response is required.

       17.     The allegations in ¶ 17 of the Motion constitute a legal argument to which no

response is required.

       18.     The allegations in ¶ 18 of the Motion constitute a legal argument to which no

response is required.

       19.     The Trustee denies the allegations in ¶ 19 of the Motion, for the reasons set forth

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below.

         20.   The Trustee neither admits nor denies the allegations in ¶ 20 of the Motion, for

the reasons set forth below.

                                     ADDITIONAL RESPONSES

         21.   The Trustee acknowledges that the Creditors have a judgment for specific

performance, and while the Trustee believes that the Debtors deny that the judgment is

enforceable in light of their Chapter 7 filing, the Trustee does not currently have a position on

that issue.

         22.   If the Creditors’ Motion is granted, and the judgment for specific performance

can be enforced, the Trustee believes there is little or no equity for the estate.

         23.   However, if the Creditors’ Motion is denied, there may be significant equity in

the Property for the estate, for the following reasons.

         24.   The Trustee believes that the Debtors’ recorded declaration of homestead is

defective. The Debtors are claiming the $500,000 “declared” homestead pursuant to M.G.L.

Ch. 188, § 3. However, the recorded declaration (a copy of which is annexed hereto as Exhibit

“A”), fails to identify Nelson Mbony as a non-titled spouse, even though, on information and

belief, the Debtors were then married. M.G.L. Ch. 188, § 5 states that “a declaration of

homestead shall be in writing….[and, among other requirements]…(1) each owner to be

benefitted by the homestead, and the owner’s nontiled spouse, if any, shall be identified;

(emphasis added). The Trustee contends that as the declaration of homestead is defective, the



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    Debtors are entitled only to the $125,000 “automatic” homestead under Ch. 188, § 4. 1

            25.       The Property is subject to mortgage liens of approximately $446,000.00; the

    Creditors’ judgment claim is unsecured. 2 The Debtors have testified that the Property may be

    worth as much as $800,000. If that is true, there is substantial non-exempt equity for the estate.

            26.       For these reasons, if the Creditors are non-entitled to enforce the specific

    performance judgment, the Motion should be denied.




            Respectfully submitted this 29th day of November, 2023.


                                                       STEVEN WEISS,
                                                       CHAPTER 7 TRUSTEE


                                                       /s/ Steven Weiss
                                                       Steven Weis, Esquire
                                                       BBO #5455619
                                                       Shatz, Scwartz and Fentin, P.C.
                                                       1441 Main Street, Suite 1100
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23\0488\ltd.Objection.Stay.1601




1
   In In re Luu, 2022 Bankr. LEXIS 1071 (Bankr,. D.Mass. 2022), this Court sustained an objection to a declared
homestead statute because it failed to comply with a different requirement in Ch. 188, § 5, i.e., that it was not signed
under penalties of perjury, and that this was a material requirement of the statute. The Court did not reach the question
presented by the Debtors’ homestead declaration in this case. However, the Trustee believes that the requirement for
the non-titled spouse to be identified is equally material.
2
   While they recorded a lis pendens, the Trustee does not believe that constitutes a lien securing their judgment.

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        NELSON MBONY,                             Chapter 7
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                       Debtors

                                 CERTIFICATE OF SERVICE

       I, Steven Weiss, of Shatz Schwartz and Fentin, P.C., do hereby certify that on November
29, 2023, a copy of the foregoing Trustee’s Limited Objection to Motion for Relief from the
Automatic Stay was mailed via electronic and/or first-class mail, postage pre-paid, to the
following:

Nelson Mbony
Immaculate Mbony
60 King Street
Dracut, MA 01826

Glenn F. Russell, Jr.
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                                                   /S/ Steven Weiss
                                                   Steven Weiss, Esquire




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